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                                                                    U.S. D.G .•Atla,nb+a

                                                                       FEB 2 2 2005
               IN THE UNITED STATES DISTRICT COURT LUTH, ~~ O~~ASi ~~~
              FOR THE NORTHERN DISTRICT O F GEORGIA C k
                         ATLANTA DIV I SIO N      -                f

TONY L . WARE, CEO and
T. L. WARE BOTTLING
COMPANY, INC.

         Plaintiffs,
                                                  Civil Action
V.
                                                  File No . 1 :05-CV-0426MHS
FLEETBOSTON FINANCIAL
CORP.,
f/k/a BANKBOSTON CORP.,

         Defendant.


                   NOTICE OF FILING ORIGINAL
          AFFIDAVIT OF THE HONORABLE JERRY W . BAXTER

      Defendant FleetBoston Financial Corporation hereby gives notice of filing

the original of the February 21, 2005 affidavit of the Honorable Jer ry W. Baxter .

FleetBoston Financial Corporation files this notice by special appearance while

preserving all defenses and objections, including but not limited to, lack of

personal jurisdiction and insufficient service of process .
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                              Respectfully submitted,

                              PARKER, HUD S ON, RAWER & DOBB S LLP



                              By:                               --
                                    W i J. Hol Y, II
                                    Georgia Bar 14 o . 362310
                                    Nancy H . Baughan
                                    Georgia Bar No . 042575
                                    Michael D . Grider
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(404)420-5549 (facsimile)     Attorneys for FleetBoston Financial Corporation




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

    TONY L . WARE, CEO and
    T . L . WARE BOTTLING COMPANY,
    INC .

                      Plaintiffs,

    V .                                       Civil Act i on
                                              File No . 1 :05-CV-0426MHS
    FLEETBOSTON FINANCIAL CORP .,
    f/k/a BANKBOSTON CORP .,


                      Defendant .




                   AFFIDAVIT OF THE H ONORABLE JERRY W . BAXTER

          The Honorable Jerry W . Baxter ,          after being duly sworn ,

    states and deposes :

                                         1.

          I am over 18 years of age and am otherwise competent to

    give this affidavit which I make on personal knowledge .

                                         2.

          I am a Judge for the Superior Court of Fulton County ,            State

    of Georgia .

                                         3.

          Superior Court Judges in Fulton County share the duties of

    "presiding judge" on a rotating basis . During the week

    beginning February 7, 2005, 1 was assigned to act as "presiding
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judge" for matters brought to the Superior Court of Fulton

County .

                                    4 .

      I have reviewed the copy of the order attached hereto as

Exhibit 1 (the "Order") and verify that the original of the

Order contains my signature as presiding judge as of February 7,

2005, the date I signed the Order . Just below my signature is

the statement    " IT IS HEREBY CONSENTED TO BY THE PARTIES ."         I

would not have signed the Order but for the fact that I was told

by the presenters of the Order that it was an Order that was

agreed to by all parties, Plaintiffs and Defendant . I would not

have signed the Order     if I knew that the Defendant was unaware

of the order or had not consented to it .

                                    5.

      The Order attached as Exhibit 1 was not prepared by me or

at my direction .   The caption of the Order identifies a Superior

Court Civil Action File Number (2004-CV-94553) that is not a

matter for which I was the assigned judge . But for my duty as

presiding judge, I would not have considered the Order in Civil

Action File Number 2004 - CV - 94553 . I now understand that Judge

Bensonetta Tipton Lane was the assigned judge for the Civil

Action File relating to the Order .




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                                      7.

      Because the Order was presented to me as a consent order

between all parties, I did not spend time reviewing its

contents . Now that I have reviewed the Order, I am sure that I

would not have entered it had I known that the Defendant was

unaware of and had not consented to the Order . Contrary to the

statements in the Order, I did not conduct a hearing on a

"Motion to Set Aside an Order pursuant to O .C .G .A . 9-11-60(a)

and (d ) (1 ) ."   I   did not take any evidence related to the subject

matter of the Order . I did not make any findings of fact

related to the subject matter of the Order . I did not make any

conclusions of law regarding the subject matter of the Order . I

did not knowingly intend to vacate any existing order that had

been entered by Judge Lane .

                                      8.

      In summary, the only fact that I relied upon to sign the

attached Order was the express representation made to me that

the Order was the product of consent by all parties, Plaintiffs

and Defendant . But for this representation made to the Court, I

never would have signed the Order .




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          FURTHER AFFIANT SAYETH NOT .




                                 The HonorablRe~S~rr~ D~! gaxte
                                 Judge, Superi r Co rt of FultonI C ty



Sworn to and subscribed
before me this day
of                                    2005 .


                      ~' Cl
Notary Public


My Commission Expires :                        / '~ / >C as



(AFFIX NOTARIAL SEAL)




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              IN THE SUPERIOR COURT OF FULTON COUNTY

                               STATE OF GEORGIA '
                                                                                                         ~• .
                                           ~                 -                   D
  TONY L. WARE , CEO and                   }
  T. L. WARE BOTTLING CO., 1NC,,                                       o~ru " t .yran ~.:;vcmo a couRr
                                                                             uLiun W~rrTr, GA

                 Plaintiffs,
        vs.                                  CIVIL ACTION
                                            } FILE NUMBER: 2004CV94553
  FLEETBOSTON FINANCIAL CORP.
  FlKIA BANKBOSTON CORP.,
                                                 ORDER ON MOTION
                 Defendant .                }
                                            ~ PRESIDING JUDGE BAXTER

                                       ORDER
        Th e Plaintiffs in this civil matter having come before this Court for a
  hearing on their Motion to Set Aside an Order p urs uant to O .C.G .A . § 9-11-60(a)
  and (d)(1) with their consent in this action . Based upon the record in this action,
  the evidence presented to the Court by the parties and applicable State law the
  Court finds that as a . matter of law sufficient grounds ex ist for the granting
  thereof . The Court hereby GRANT the Plaintiffs' joint Motion to Set Aside th is
  Court's Order entered on February 2" d , 2005 vacat ing th is Court's final judgment
  on January 28"', 2005 as follows :
                               I. FINDINGS OF FACT
        The Court makes the following findings of fact :
        The Plaintiffs Tony L. Ware, CEO and T .L. Ware Bottling Company, inc .,
  brought this civil action on December 7~', 2004 based upon their ten count
  Complaint for Damages, Injunction, RICO violations, Fraud, Gross Negligence
  and other violations of both Federal and State laws and further requesting
  injunctive and other equitable relief concerning all other claims and disputes
  against the Defendant FleetBoston Financial Corporation flk/al BankBoston
  Corporation.



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         After proper service of process of the Summons and Complaint on the
  Defendant on December 'i0~', 2004 by a Court Appointed Process Server, the
  Defendant failed to file its answer to the Summons and Complaint and became in
  default on January 11 t ', 2005 .           11

         On January Z8~', 2005 this Court entered a F i nal Judgment and Decree in
  favor of the Plaintiffs . See,' Docket No . 10 . Before any party could appeal such
  final judgment this . Court entered a 'order vacating sa id final ju dgme nt on its own
  mot i on without a showing of any meritorious reason . See, Docket No . 1 1 .
         Contrary to the final judgment of this Court the Order vacating the final
  judgment did not state whether or not sa id final j udgment was void or whether
  there were any nonamendable defects which may appear on the face of the
  record. The Court further finds that the final judgment entered in this action was
  not void for lack of jurisdiction over the parties or the sub ject matter in this case .
  Nor are there any nonameda ble defects which would authorized this Court to set
  aside or vacate the final judgment entered by this Court
         Thus the final judgment entered on January 28 t, 2005 limited this Court's
  own inherent power and jurisdiction to amend, modify or set aside t h e final
 j udgment as it relates to th is case without first g iving the Plaintiffs a notice of a
  hearing and a right to b e heard by the Court prior to vacatingg and setting aside
  the final judgment of this Court. See, Docket No . 10 Final Judgment at Page 12 .
        Therefore this Court finds that as a matter of law, there are no meritorious
  reasons to vacate the final judgment entered on January 28 , ', 2005 and the
 Order vacating such final j udgment is void on its face for lack of jurisdiction .
                                      II. DISCUSSION

         Notwithstanding this Court's inherent authority over judgments within the
 same term of Court the final judgment entered in this action was rendered in
 chambers pursuant . to O.C .G.A. § 9 -'l 1 -55(a). This Court never exercised any .
 legal discretion to vacate its final judgment nor did the Court give the Plaintiffs
 any meritorious reasons for vacating the final judgment, See, Docket No . 'f 1
 Order vacating judgment. Our Georgia Supreme Court has made it clear in
 Page v. Pope, 277 Ga. 333, 588 SE2d 736 (2003) by stating the following :


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                      "A trial court's discretion in setting aside a
                judgment will not be disturbed unless manifestly
                abused . However, trial Court's discretion to set
                aside a judgment during the term 'it was entered is
                not without limits, and should be exercised for
                some meritorious reason ."

         Thus the Order attempting to vacate the final judgment in this manner did
  not show that the Court exercised any legal discretion by showing a meritorious
  reason . The Georgia Supreme Court has also held in Hurt Bldg., Inc. v. Atlanta
  Trust Co., 181 Ga . 274, 182 SE 187 (1935) that:
                       "While a motion tn . set aside a judgment a
                judgment is addressed to the sound discretion of
                the judge, it should not, although made during the
                term at wh ich the judgment was rendered, be
                granted unless some meritorious reason is g iven
                thereof. The rule appears to have been generally
                adopted in almost ai l jurisdictions, that the power
                of control even dur ing the term should be
                exercised only upon suffic i ent cause shown, and
                where the matter appeals to an exercise of sound
                legal discretion ."

         As stated herein the fnal judgment entered on January 28"', 2005 limited
  this Court's own power and jurisdiction to amend, modify or set aside the final
  judgment by first giving the Plaintiffs the right to a notice of a hearing and a right
  to be heard prior to the Court vacating or setting aside the final judgment of this
  Court. See, Docket No . 10 Final Judgment at Page 12 which reads in part that :

                        "IT !S FURTHER ORDERED, That the
                Plaintiffs has consented to the total payment and
                satisfaction of this judgment to be made payable to
                the Plaintiff T .L. Ware Bottling Company, Inc ., by the
                Defendant . Furthermore, this consent final
                judgment shall not be amended, modified or set
                aside bythe parties or the Court without the
                consent of the parties Plaintiffs or without a
                notice of a -hearing to the Plaintiffs b the Clerk of
                this Court at the Plaintiffs' address of record in
                this action ."




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                            Ill . CONCLUSION OF LAW
         This provision of the final judgment was binding on this Court : Therefore,
  the Court concludes that there are no meritorious reasons to vacate the final
  judgment entered on January 28th, 2005 and the Order vacating such final
  judgment without notice to the Plaintiffs and without their consent pursuant to the
  above stated provision of the final judgment is deemed void on Its face for lack of
  jurisdiction . The Georgia Supreme Court has further held that:
                       "A void judgment is no judgment . By It no
                rights are divested ; from it no rights can be
                obtained . Being worthless in itself, all proceeding
                founded upon it are equally worthless . It neither
                binds nor bars any arse . All acts performed under
                it and all claims flowing out of it are void ."

       See, Steward vs . Golden, 98 Ga . 479, 25 SE 538 (1896) and also see
  Shotgun vs . State, 73 Ga . App. 136, 35 SE2d 556 (1945) cert . denied, 329 U .S .
  740, 67 S .Ct . 56, 91 L .Ed     638 (1946) . See, O .C .G .A . § 9-11-60(a) and
  O.C .G.A. § 9.12.16 . The Georgia Supreme Court has made it clear by stating :
                      "When a party has been afforded an
                opportunity to be heard, the court cannot
                suspend or vacate its judgment merely to let in a
                defense which should have been offered before
                the judgment was entered ."

         See, Hart 81d       Inc. v. Atlanta Trust Ca, Supra . This Court further
  concludes that the Order vacating the final judgment without having a meritorious
  reason and without notice to the Plaintiffs prior to vacating the final judgment
  violates the Plaintiffs Federal Constitutional rights to due process under law .
         ORDERED, ADJUDGED , AND DECREED, That the Order .vacating
  the final judgment entered on February 2"d, 2005 is hereby set aside and vacated
  and said order is deemed null and void on its face for lack of jurisdiction and
  because of a nonamendable defect which appears on the face of the record such
  as lack of notice of a hearing to the Plaintiffs concerning the Court's own motion
  to vacate the final judgment without having a meritorious reason .




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             IT IS FURTHER ORDERED, By this Court that the final judgment
      entered on January 28 h , 2005 by the Honorable M . Gino Brogdon is effective
      and binding on this Court and all parties and is therefore the law of this case.

             IT IS FURTHER ORDERED , By this Court that the Defendant and the
      Clerk of this Court is further directed to comply with all of the terms of the final
      judgment entered on January 28'x, 200 by the Honorable M . Gino Brogdon,
      Presiding lodge and that any further orders or judgments (except any orders of
      the Georgia Supreme Court or the Georgia Court of Appeals) which is entered in
      violation of the final judgment shall be deemed null and void as a matter of law .
              IT IS FURTHER ORDERED, By this Court that this order shall be
      made part of the final judgment of this Court and shall not be vacated or set
      aside by the Court without prior notice of a hearing to the Plaintiffs . The Plaintiffs
      shall have a right to file a motion for contempt for any persons violating this Order
      and the final judgment entered on Janu 8th, 2005 by thi _ ou
             IT IS SO         ORDERED,                    Th    day        of      205.



                              Hon. JERK                    'fit, Presiding Judge
                              SUPERIOR                     FULTON COUNTY

             IT IS HEREBY CONSENTED                       BY THE PARTIES,

      Co     nt d         y                                Con ente to By:
               x

      M ichae l R . Johnson, Sr.                           Dr. Tony L . Ware, JD, Plaintiff
      Attor ney for the Plaintiff                          Chairman & CEO
      Georg i a Bar No . 395056                            P .O . Box 150524-Dept. 0227
      Johns on & Ass ociates, P. C.                        Atlanta, Georgia 30315-0188
      340 We s t Peacht ree Street , N . E .               (404) 945-0342
      Suite 200
      Atl anta , Georgia 30308
      (404) 688-71100




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                          CERTIFICATE OF SE RV ICE

      I hereby certify that I have this day served a copy of the within and

foregoing NOTICE OF FILING ORIGINAL AFFIDAVIT OF THE

HONORABLE JERRY W. BAXTER upon all parties to this matter by causing

to be deposited in the U .S . Mail, proper postage prepaid, a true copy of same

addressed as follows :


                    Michael R . Johnson, Sr. (also served via courier)
                    Johnson & Associates, P .C.
                    340 West Peachtree Street, N.E .
                    Suite 200
                    Atlanta, Georgia 30308

                    Dr. Tony L. Ware, PhD, JD
                    Post Office Box 150524 - Dept. 0227
                    Atlanta, Georgia 30315


      This 2.2 ='') day of February, 2 005 .



                                                              --~~
